   Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 1 of 13 PageID #:1208




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                               Case No. 1:21-cv-06546

                         Plaintiff /                   The Honorable John R. Blakey
                         Counterclaim-Defendant,

         v.

 VINTAGE BRAND, LLC,

                         Defendant /
                         Counterclaim-Plaintiff.


                              DECLARATION OF THERESA H. WANG

        I, Theresa H. Wang, declare and state the following:

        1.      I am a shareholder at the law firm Stokes Lawrence, P.S. and one of the counsel of

record for Vintage Brand, LLC (“Vintage Brand”) in this lawsuit, and I have personal knowledge

of the facts stated herein.

        2.      Since fact discovery has commenced, the Board of Trustees of the University of

Illinois (“University”) has produced records regarding a licensing program for the Chief Logo

initiated after the Board’s March 13, 2007 resolution. Attached as an example of such production

is Exhibit A: ILL-VNTG_0012072, 000719–27.

        3.      Additionally, the pages bates numbered with the prefix “ILL-VNTG” contained in

the Appendix to the underlying Motion for Partial Summary Judgment were all produced by the

University to Vintage Brand.

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Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 2 of 13 PageID #:1209




   I declare under penalty of perjury that the foregoing is true and correct.

   EXECUTED at Seattle, Washington this 8th day of November, 2022.



                                                 /s/ Theresa H. Wang
                                                 Theresa H. Wang (admitted pro hac vice)




                                             2
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 3 of 13 PageID #:1210




                                   EXHIBIT A
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 4 of 13 PageID #:1211
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 5 of 13 PageID #:1212
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 6 of 13 PageID #:1213
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 7 of 13 PageID #:1214
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 8 of 13 PageID #:1215
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 9 of 13 PageID #:1216
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 10 of 13 PageID #:1217
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 11 of 13 PageID #:1218
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 12 of 13 PageID #:1219
Case: 1:21-cv-06546 Document #: 72 Filed: 11/08/22 Page 13 of 13 PageID #:1220
